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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA


                                     CIVIL MINUTES – GENERAL

 Case No.    LA CV18-03899 JAK (PLAx)                                             Date        May 17, 2018
 Title       Kajeet, Inc. v. Mobicip, LLC




 Present: The Honorable           JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                 Andrea Keifer                                              Not Reported
                  Deputy Clerk                                      Court Reporter / Recorder
          Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                    Not Present                                               Not Present


 Proceedings:           (IN CHAMBERS) ORDER RE PLAINTIFF’S MOTION FOR LEAVE TO
                        RECOGNIZE THE LAW FIRM OF WILSON TURNER KOSMO LLP AS
                        LOCAL COUNSEL (DKT. 9)

On May 10, 2018, Kajeet, Inc. (“Plaintiff”) filed a Motion for Leave to Recognize the Law Firm of Wilson
Turner Kosmo LLP (“Wilson”) as local counsel. Dkt. 9 (the “Motion”). They did so in connection with the
planned applications by Plaintiff’s out-of-state, lead counsel to appear pro hac vice. Plaintiffs
acknowledge that Wilson maintains an office in San Diego, California, which is in the Southern District
of California, but that Wilson does not have an office in the Central District of California. Id. at 2-3.

Pursuant to L.R. 83-2.1.3.4, an attorney seeking to appear pro hac vice must designate as Local
Counsel an attorney who “(1) is a member of the Bar of this Court; and (2) maintains an office within the
District.” Plaintiffs have not provided authority that shows that a District Judge has the discretion to
excuse counsel from its obligations under the Local Rules. Assuming, without deciding, that there is
such authority, there is not a sufficient basis to warrant an exception under the circumstances
presented here. Given the narrow required role of local counsel, the availability of many attorneys in
this District who could fill the role, and the absence of evidence of any burden, financial or otherwise,
that would be imposed on Plaintiff by requiring its compliance with Rule 83-2.1.3.4, no good cause has
been shown for granting an exception.

For the foregoing reasons, the Motion is DENIED.


IT IS SO ORDERED.
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